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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       :      CRIMINAL NO. 1:16-CR-082-03
                                               :
                                               :      (Judge Kane)
                                               :
                 v.                            :
                                               :
SCOTT LANE,                                    :
                                               :
                         Defendant             :


                                             ORDER

                 AND NOW, this 15th day of May 2018, upon approval of a Request for Extension

of Presentence Disclosure Date, IT IS ORDERED THAT the sentencing scheduled for June 12,

2018 for the above defendant is RESCHEDULED to September 6, 2018 at 10:00 a.m. The

sentencing will be held in Courtroom No. 4, Eighth Floor, Federal Building, Harrisburg,

Pennsylvania.




                                               s/ Yvette Kane
                                               YVETTE KANE, District Judge
                                               United States District Court
